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                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

UNITED STATES OF AMERICA                      )
                                              )
               v.                             )           CR 121-048
                                              )
SAMMIE LEE SIAS                               )
                                          _________

                                          ORDER
                                          _________

        Defendant requests an extension until January 18, 2022, of the current motion filing

deadline because defense counsel needs additional time to review the voluminous discovery

provided by the government. (Doc. no. 26.) The government does not oppose the request.

(Id.)

        The Court finds, as a matter of fact and law, that the motion is not for the purpose of

delay, but in the furtherance of justice, and to protect Defendant’s right to a fair trial. The

Court also finds that the motion is for the purpose of allowing reasonable time necessary,

assuming the exercise of due diligence, for the effective preparation of defense counsel.

Therefore, pursuant to 18 U.S.C. § 3161(h)(7), and on the basis of the Court’s finding that

the ends of justice served by granting the motion for an extension outweigh the best interests

of the public and the defendant in a speedy trial, the Court GRANTS the motion.

Defendant’s pretrial motions must be filed no later than January 18, 2022. The period of

delay resulting from this extension – November 19, 2021, through and including January 18,

2022 – is excluded in computing the time within which the trial of this matter may

commence.
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       Defense counsel is specifically cautioned that because of this extension,

“preliminary” motions to suppress, dismiss, or sever will not be looked upon favorably. All

motions must comply with Local Criminal Rule 12.1 at the time of filing, including the

provisions concerning affidavits, citations to record evidence, and supporting memorandums.

Any “preliminary” motions on the docket as of January 18, 2022, will be treated as nullities.

       SO ORDERED this 19th day of November, 2021, at Augusta, Georgia.




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